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1                             UNITED STATES DISTRICT COURT
2                                    DISTRICT OF NEVADA
3     RAMON MURIC-DORADO,                                    Case No. 2:18-cv-01184-JCM-EJY
4                                           Plaintiff                     ORDER
5           v.
6     LVMPD et al.,
7                                        Defendants
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10         Presently before the court is the matter of Muric-Dorado v. LVMPD et al., case

11   number 2:18-cv-01184-JCM-EJY.          Plaintiff Ramon Muric-Dorado filed his second

12   amended complaint on March 18, 2019. (ECF No. 15).

13         Federal Rule of Civil Procedure 4(m) provides as follows:

14                If a defendant is not served within 90 days after the complaint
                  is filed, the court—on motion or on its own after notice to the
15                plaintiff—must dismiss the action without prejudice against
                  that defendant or order that service be made within a specified
16                time. But if the plaintiff shows good cause for the failure, the
                  court must extend the time for service for an appropriate
17                period. This subdivision (m) does not apply to service in a
                  foreign country under Rule 4(f), 4(h)(2), or 4(j)(1), or to service
18                of a notice under Rule 71.1(d)(3)(A).
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     Fed. R. Civ. P. 4(m).
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           More than 90 days have elapsed since the instant action was filed. To date,
21
     plaintiff has not served two defendants: Neumuller, 9416, also known as Robert
22
     Neumuller (“Neumuller”) and Green.
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           On September 28, 2020, the court gave plaintiff notice of its intent to dismiss his
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     claims against the above parties pursuant to Fed. R. Civ. P. 4(m). Plaintiff has not
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     responded, served defendants Neumuller and Green, or otherwise appeared.
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     ...
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     ...
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1          Accordingly,
2          IT IS HEREBY ORDERED, ADJUDGED, and DECREED that plaintiff’s claims
3    against defendants Neumuller, 9416, also known as Robert Neumuller, and Green be,
4    and the same hereby are, DISMISSED.
5          DATED July 13, 2020.
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7                                                UNITED STATES DISTRICT JUDGE
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